     Case 2:22-cv-03243-FMO-E       Document 129 Filed 11/24/23      Page 1 of 42 Page ID
                                           #:2389


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11                          UNITED STATES DISTRICT COURT
12                         CENTRAL DISTRICT OF CALIFORNIA
13                                   WESTERN DIVISION
14
      CONCERNED JEWISH PARENTS                      Case No. 2:22-cv-03243-FMO(PVCx)
15    AND TEACHERS OF LOS
      ANGELES, AMY LESERMAN,                        PLAINTIFFS’ OMNIBUS
16    LINDSEY KOHN, DANNA
      ROSENTHAL, AND DANIEL ELI,                    MEMORANDUM OF POINTS AND
17                                                  AUTHORITIES IN OPPOSITION TO
                      Plaintiffs,                   DEFENDANTS’ MOTIONS TO DISMISS
18          v.
                                                    AND SPECIAL MOTIONS TO STRIKE
19    LIBERATED ETHNIC STUDIES                      SECOND AMENDED COMPLAINT
      MODEL CURRICULUM
20    CONSORTIUM; UNITED
      TEACHERS OF LOS ANGELES;                      Concurrently filed herewith:
21    CECILY MYART-CRUZ, THERESA
      MONTANO, AND GUADALUPE                        Plaintiffs’ Ex Parte Application for Order
22    CARRASCO CARDONA, in their
      individual and official capacities as         Permitting Opposition Brief That Exceeds
23    public employees; AND DOES 1-10,              25 Pages
24                    Defendants,
                                                    Hearing:        December 14, 2023
25          and                                     Time:           10:00 a.m.
                                                    Place:          Courtroom 6D
26    LOS ANGELES UNIFIED SCHOOL
      DISTRICT,                                                     350 W. 1st Street
27                                                                  Los Angeles CA 90012
                      Nominal Defendant.
28


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     Case 2:22-cv-03243-FMO-E                 Document 129 Filed 11/24/23                        Page 2 of 42 Page ID
                                                     #:2390


 1                                               TABLE OF CONTENTS
 2   TABLE OF AUTHORITIES........................................................................................ v
 3   INTRODUCTION........................................................................................................ 1
 4   ARGUMENT................................................................................................................ 3
 5            I.      THE FACTS............................................................................................. 3
 6                     A.       What Plaintiffs Have Charged........................................................ 4
 7                              1.       The SAC Properly Alleges That Defendants Are State
 8                                       Actors Participating Directly In The Government Function
 9                                       Of Determining The Content Of Public School
10                                       Classes…............................................................................. 4
11                              2.       The SAC Alleges That The Teaching Materials At Issue
12                                       In This Case, and In Use Now In LAUSD, Are Explicitly,
13                                       Formally, Racist................................................................... 7
14                              3.       The SAC Alleges That The Teaching Material At Issue
15                                       Denounces Plaintiffs’ Sincerely Held Religious Beliefs and
16                                       Seeks to Suppress Advocacy Of Those Beliefs................... 9
17                              4.       The SAC Pleads That Plaintiffs Are Being Harmed Now
18                                       And That Further, Even Greater Harm Is Imminent........... 9
19                     B.      What Is Not At Issue In This Case............................................... 12
20            II.      NO PROTECTED FIRST AMENDMENT ACTIVITY BY
21                     DEFENDANTS IS AT ISSUE IN THIS CASE.................................... 15
22                     A.       Defendants Misapprehend What Activity Is At Issue In This
23                              Case.............................................................................................. 16
24                     B.       The Law Is Clear That When Public School Teachers Are At
25                              Work In Their Classrooms They Have No First Amendment
26                              Rights To Teach Whatever They Want………………............... 16
27            III.     PLAINTIFFS HAVE STANDING TO BRING THESE CLAIMS……17
28                     A.       The Law On Standing Is Uniquely Accommodating For First
           Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                 - ii -
     Case 2:22-cv-03243-FMO-E          Document 129 Filed 11/24/23                    Page 3 of 42 Page ID
                                              #:2391


 1                       Amendment Claims………………............................................. 17
 2                B.     Plaintiffs Have Sufficiently Alleged That Defendants’ Teaching
 3                       Materials Substantially Burden The Free Exercise Of Their
 4                       Religious Belief........................................................................... 18
 5                       1.       Defendants’ Teaching Materials Target And Seek To
 6                                Suppress Expressions Of Plaintiffs’ Sincerely Held
 7                                Religious Belief…………………………………………..18
 8                       2.       Plaintiffs Have Sufficiently Alleged That The Burden
 9                                Imposed On Their Religious Beliefs Is
10                                Substantial……………………………………………..…19
11         IV.     COURTS ROUTINELY ADDRESS THE ONLY FACTUAL
12                QUESTION RELATING TO RELIGION PRESENTED BY THIS
13                CASE, WHICH IS THE PLAINTIFFS’ CLAIM THAT THEY
14                MAINTAIN SINCERELY HELD RELIGIOUS BELIEFS.................. 22
15         V.     BY ALLEGING THAT DEFENDANTS HAVE SOUGHT AND
16                ATTAINED “CONTROL” OF THE TEACHING OF ETHNIC
17                STUDIES IN LAUSD, THE PLAINTIFFS HAVE ADEQUATELY
18                ALLEGED THAT DEFENDANTS ARE STATE ACTORS............... 24
19         VI.    PLAINTIFF PARENTS HAVE STANDING TO BRING THEIR
20                CLAIMS UNDER TITLE VI................................................................. 29
21         VII. INTENT HAS BEEN ADEQUATELY ALLEGED FOR BOTH
22                EQUAL PROTECTION AND TITLE VI CLAIMS............................. 30
23         VIII. PLAINTIFFS HAVE STATED A CLAIM FOR VIOLATION OF
24                THE FEDERAL AND STATE EQUAL PROTECTION CLAUSE,
25                AS THEIR OWN AUTHORITIES CLEARLY HOLD........................ 31
26         IX.    THE STATE LAW CLAIMS ARE ALL VALID, AND INDEED
27                DEFENDANT CARDONA ADVANCES NO REASON WHY
28                SHE IS NOT LIABLE UNDER THESE PROVISIONS...................... 32
          Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                               - iii -
     Case 2:22-cv-03243-FMO-E                Document 129 Filed 11/24/23                    Page 4 of 42 Page ID
                                                    #:2392


 1           X.       THE COURT SHOULD DENY THE ANTI-SLAPP MOTIONS. ...... 32
 2   CONCLUSION.......................................................................................................... 34
 3

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           Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                 - iv -
     Case 2:22-cv-03243-FMO-E                 Document 129 Filed 11/24/23                     Page 5 of 42 Page ID
                                                     #:2393


 1                                          TABLE OF AUTHORITIES
 2   Cases
 3   Allen v. Woodford,
     2006 U.S.Dist. LEXIS 45254 (E.D. CA June 26, 2006)……………................... 27,28
 4
     Bantam Books, Inc. v. Sullivan,
 5   372 U.S. 58 (1963)...................................................................................................... 26
 6   Bowen v. Roy,
     476 US. 693 (1986)..................................................................................................... 18
 7
     Brandenburg v. Ohio,
 8   395 U.S. 444, 447 (1969)............................................................................................ 33
 9   Brown v. Board of Education,
     347 U.S. 483 (1954).................................................................................................... 20
10
     Burton v. Wilmington Parking Authority,
11   365 U.S. 715 (1961).................................................................................................... 25
12   Church of Lukumi Babalu Aye v. Hialeah,
     508 U.S. 520 (1993)................................................................................................... 18
13
     Church of Lukumi Babalu Aye v. Hialeah,
14   723 F.Supp. 1467 (S.D. FL. 1989)............................................................................. 18
15   Collins v. Womancare,
     878 F.2d 1145 (9th Cir. 1989).................................................................................... 25
16
     Evans v. Newton,
17   382 U.S. 296, 299 (1966)............................................................................................25
18   Evans-Marshall v. Board Of Education Of Tipp City Exempted Village School
     District,
19   624 F.3d 322 (6th Cir. 2010)....................................................................................... 17
20   Fenters v. Chevron,
     761 F.Supp.2d 957 (E.D. CA 2010)........................................................................... 28
21
     Italian Colors Rest. v. Becerra,
22   878 F.3d 1165 (9th Cir. 2018)..................................................................................... 17
23   Gillete v. United States,
     401 U.S. 437 (1971).................................................................................................... 18
24
     Harris v. Escamilla, th
25   736 Fed. Appx. 618 (9 Cir. 2018)............................................................................. 19
26   Johnson v. Poway   Unified School Dist.,
     658 F.3d 954 (9th Cir 2011).............................................................................. 16,20,32
27
     Jones v Williams,th
28   791 F.3d 1023 (9 Cir. 2015)..................................................................................... 18
            Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                  -v-
     Case 2:22-cv-03243-FMO-E                    Document 129 Filed 11/24/23                        Page 6 of 42 Page ID
                                                        #:2394


 1
     LSO, Ltd. v. Stroh,
 2   205 F.3d 1146 (9th Cir. 2000)..................................................................................... 17
 3   Masterpiece Cakeshop, Ltd. v. Colo. Civil Rights Comm’n,
     584 U.S. , 138 S.Ct. 1719 (2018)........................................................................... 18
 4
     NOW v. Sperry-Rand Corp.,
 5   457 F.Supp. 1338 (D. CT 1978)................................................................................. 21
 6   Pollard v. The GEO   Group, Inc.,
     629 F.3d 843 (9th Cir. 2010)....................................................................................... 27
 7
     Putzer v. Donnelly,
 8   2010 U.S. Dist. LEXIS 63708 (D.NV May 11, 2010)................................................ 20
 9   Shakur v. Schriro,
     514 F.3d 878 (9th Cir. 2008)....................................................................................... 19
10
     United States v. Allamby,
11   2005 U.S. Dist. LEXIS 32385 (N.D. OH July 29, 2005)........................................... 33
12   United States v. Bell,
     414 F.3d 474 (3d Cir. 2005)....................................................................................... 33
13
     United States v. thSchiff,
14   379 F.3d 621 (9 Cir. 2004)....................................................................................... 33
15   Walker v. New York City Dep’t of Educ.,
     712 Fed.Appx. 43 (2d Cir. 2017)................................................................................ 17
16
     Walz v. Tax Comm’n of New York City,
17   397 U.S. 664 (1970).................................................................................................... 18
18   Watts v. Fla. Int'l Univ.,
     495 F.3d 1289 (11th Cir. 2007)................................................................................... 22
19
     West v. Atkins,
20   487 U.S. 42
     (1988).......................................................................................................................... 27
21
     World OutreachthConf. Ctr. v. City of Chicago,
22   591 F.3d 531 (7 Cir. 2009)....................................................................................... 19
23   Other Authorities
24   Signing Statement of Governor Newsom, A.B. 101
25   https://www.gov.ca.gov/wp-content/uploads/2021/10/AB-101-Signing-Message-
26   PDF.pdf.......................................................................................................................6,7
27   Miscellaneous
28   Garcetti’s Impact on Teachers, (June 3, 2019)

            Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                  - vi -
     Case 2:22-cv-03243-FMO-E                  Document 129 Filed 11/24/23                       Page 7 of 42 Page ID
                                                      #:2395


 1   https://onlabor.org/garcettis-impact-on-teachers/........................................................17
 2   Bill Honig, California Schools Should Opt for Inclusive Ethnic Studies,
 3   https://edsource.org/2022/california-schools-should-opt-for-inclusive-ethnic-
 4   studies/674538.............................................................................................................. 8
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 6   Criticizes Ethnic Studies Curriculum,
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 9   Ted Lapkin, Black Lives Matter, the Jews and Palestinian Nationalism,
10   https://www.jpost.com/american-politics/black-lives-matter-the-jews-and-palestinian-
11   nationalism-634946...................................................................................................... 7
12   Disentangling the effects of perceived personal and group ethnic discrimination
13   among secondary school students: The protective role of teacher–student relationship
14   quality and school climate,
15   https://onlinelibrary.wiley.com/doi/full/10.1002/cad.20415...................................... 21
16   Perceived Racial/Ethnic Discrimination and Mental Health: a Review and Future
17   Directions for Social Epidemiology,
18   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5596659/....................................... 21
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            Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                 - vii -
     Case 2:22-cv-03243-FMO-E       Document 129 Filed 11/24/23       Page 8 of 42 Page ID
                                           #:2396


 1         Plaintiffs Concerned Jewish Parents and Teachers of Los Angeles, et al.
 2   respectfully submit this omnibus opposition to the following motions: (1) motion to
 3   dismiss filed by Defendants United Teachers Los Angeles and Cecily Myart-Cruz
 4   (“UTLA Defendants”) on November 13, 2023 (Dkt. No. 121); (2) special motion to
 5   strike filed by the UTLA Defendants on November 13, 2023 (Dkt. No. 122); (3)
 6   motion to dismiss filed by Defendant Los Angeles Unified School District
 7   (“LAUSD”) on November 13, 2023 (Dkt. No. 123); (4) motion to dismiss filed by
 8   Defendants Montano, Cardona, and Liberated Ethnic Studies Model Curriculum
 9   Consortium (“LESMCC Defendants”) on November 13, 2023 (Dkt. No. 124); and (5)
10   special motion to strike filed by the LESMCC Defendants on November 13, 2023
11   (Dkt. No. 125).
12
                                        INTRODUCTION

13         This case charges that Defendants Liberated Ethnic Studies Model Curriculum
14   Consortium, the United Teachers of Los Angeles, and their officers have taken
15   effective control of the Ethnic Studies curriculum in Los Angeles public schools, and
16   exercised that control (in part by hiding what they are doing). Thus acting under color
17   of state law, Plaintiffs allege that Defendants have installed in public school
18   classrooms an explicitly (indeed, proudly) racist curriculum which the State of
19   California has expressly directed should not be used, and which seeks to suppress the
20   free exercise of Plaintiffs’ sincerely held religious beliefs.
21         This case relates, and asks for relief concerning, only one thing: the publicly
22   funded words that come out of the mouths of LAUSD public school teachers. No
23   other conduct in this case is said to be a violation of any law. The Complaint does
24   not allege that any other conduct – and any private conduct at all – is against the law,
25   and it does not ask that this Court impose any remedy regarding any conduct, by any
26   party, except for one thing: the speech that comes out of the mouths of publicly
27   funded teachers while they are engaged in publicly funded activities.
28         The first reason why Defendants’ motions fail is that their sole topic is
     Case 2:22-cv-03243-FMO-E       Document 129 Filed 11/24/23         Page 9 of 42 Page ID
                                           #:2397


 1   something this case does not attack, or ask this Court to stop or interfere with in any
 2   way. They tell this Court that the case is about something else entirely: not the
 3   actual teaching that goes on in the classroom, but “UTLA Defendants’ efforts to
 4   change the curricular model for public school teaching in Los Angeles and statements
 5   critical of the State’s optional model curriculum for ethnic studies.” UTLA Slapp Br.
 6   at 7. The Brief of Defendant Liberated Ethnic Studies Model Curriculum Consortium
 7   makes exactly the same false claim: that the case seeks to stop defendants from
 8   “influenc[ing] statewide Ethnic Studies curriculum as well as the curriculum to be
 9   used by LAUSD.” LESMCC Br. at 6.
10      This is simply false – that’s just not what this case is about at all. The right to
11   petition for redress of grievances, protected by the First Amendment and the Noerr-
12   Pennington doctrine, is not at issue in this case because the Complaint does not ask
13   this Court to address the legality, or to impose any remedy regarding, any such
14   petitioning activity. The right of teachers, or their union, to speak amongst
15   themselves about what the content should be of the LAUSD curriculum, is also not at
16   issue in this case and the Complaint does not ask this Court to impose any remedy
17   regarding any such speech or interactions. Defendants’ devotion of their briefs to a
18   defense of their Constitutional right to engage in such conduct is thus entirely
19   irrelevant. This is clear from the fact that the only remedy sought is a request that the
20   racist material at issue in this case not to taught in LAUSD public school classrooms,
21   or paid for with public money.
22         The second flaw in Defendants’ attacks on Plaintiffs’ claims is that they ignore
23   the substantive law governing their conduct. That law is clear: the State of
24   California has decreed don’t teach this,” referring specifically to the antisemitic
25   content at issue in this case. Defendants think the State of California did the wrong
26   thing by so mandating. SAC ¶190 and SAC Exhibit F at 4 (condemning “the actions
27   taken by the California Department of Education when it rejected inclusion of
28   Palestine in the California Ethnic Studies model curriculum”). So they direct the
          Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                -2-
     Case 2:22-cv-03243-FMO-E       Document 129 Filed 11/24/23         Page 10 of 42 Page ID
                                            #:2398


 1    exact opposite: DO teach this.
 2           Strikingly, Defendants do not contest this. Nowhere in any of the Defendants’
 3    briefs do they argue that the content they have inserted into the LAUSD curriculum is
 4    in fact consistent with any of the state laws governing the Ethnic Studies curriculum.
 5           As a result of Defendants’ efforts, material that the State says should not be
 6    taught is in fact being taught in the LA public schools. This case is brought to stop the
 7    teaching of material that the State of California has expressly directed not be taught.
 8           This relief sought thus seeks exactly and only one thing: a bar on the use in
 9    publicly financed public school classrooms of material which is - overtly – by its
10    own terms – racist, dividing people by race into oppressor and victim, and
11    denouncing as “white” (and so as “oppressors”) the millions of Jews of color who
12    populate Israel and the diaspora; - that – by its own terms – discriminates against
13    Israeli-Americans on the basis of their nationality and ethnicity; and that - is overtly
14    antisemitic, because– by its own terms – it denounces and seeksto put an end to the
15    exercise of a fundamental Jewish belief.
16           The only other relief sought is public access to what is actually taught in the
17    publicly financed public schools of this city.What the Complaint in this case does not
18    seek is a limit of any kind on any of the activities to which Defendants entirely devote
19    their briefs.
20
                                            ARGUMENT

21    I.    THE FACTS.
             A vast gap separates the allegations actually pled in Plaintiffs’ Second
22
      Amended Complaint,2 which form the bases for Plaintiffs’ legal claims, and the
23
      made-up facts which form the basis for Defendants’ Motions to Dismiss. The
24
      pleading at issue was denominated by Plaintiffs when filed as their First Amended
25
      Complaint, the only prior amendment having been a corrected pleading filed by
26
      stipulation among the parties. 1
27
             1
                 The Court has denominated this as the Second Amended Complaint. All
28

           Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                 -3-
     Case 2:22-cv-03243-FMO-E       Document 129 Filed 11/24/23         Page 11 of 42 Page ID
                                            #:2399


 1          Defendants thus ask this Court to dismiss Plaintiffs’ request that this court
 2    prevent “students learning about the Israel-Palestine conflict,” UTLA Br. at 4, and a
 3    claim that Plaintiffs have been harmed by “merely encountering materials that were
 4    posted online.” Ibid. Similarly, they tell this Court that Plaintiffs’ claims are based
 5    on the “fact” that Defendants “advocate for a curriculum that includes mention of the
 6    equal human rights of Palestinians, criticizes Israel, and questions the basis for a
 7    religious ethno-state.” LESMC Br. at 1. Nor are Plaintiffs before this Court because
 8    of a “possibility that “LAUSD – not UTLA –[might] later adopt[] the
 9    LESMC.” UTLA Br. at 6.
      A. WHAT PLAINTIFFS HAVE CHARGED.
10             1.  The SAC Properly Alleges That Defendants Are State Actors
11                 Participating Directly In The Government Function Of
                   Determining The Content Of Public School Classes
12

13          The SAC alleges clearly that Defendants are directly involved in determining—

14    not suggesting, or advocating for, but determining -- the content of public school

15    classes. SAC ¶51 alleges:

16          The Consortium shares and exercises public power by participating directly in
            the writing of LESMC teaching materials with paid employees of the LAUSD
17          for use in publicly-funded classrooms.
18          As the Consortium explains on its website, “Our ethnic studies experts work
19    directly with the district’s educators and curriculum development team who write the
20    units, lessons, and develop the pedagogical practices.”
21    https://www.liberatedethnicstudies.org/uploads/1/6/1/9/16198322/statement_on_how
22    _the_lesmcc_supports_districts.pdf
23          The sufficiency of defendants’involvement in the challenged course of
24    government conduct is itself a factual question not amenable to resolution on a
25    motion to dismiss. The SAC pleads this as well. The SAC thus alleges that while the
26

27    references to the pleading in this brief will be to this document (Dkt. No. 119),
      identified as SAC ¶ .
28

           Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                 -4-
     Case 2:22-cv-03243-FMO-E       Document 129 Filed 11/24/23         Page 12 of 42 Page ID
                                            #:2400


 1    LAUSD has ordered Ethnic Studies to be taught, now, throughout the district, the
 2    LAUSD itself has not formally adopted an Ethnic Studies curriculum. Into this
 3    vacuum have stepped the LESMCC and UTLA Defendants, who have worked
 4    together to attain “control” – SAC ¶30 – over what is actually taught as Ethnic
 5    Studies in LAUSD. The SAC alleges that these Defendants have used this power to
 6    “insert” the LESMC “into the classrooms of the LAUSD.” Id. ¶ 33.
 7          They have accomplished this, the SAC alleges, in several ways. First, through
 8    secrecy –instructing those teaching their racist materials to maintain their ability to
 9    do so by “be[ing] strategic,” SAC ¶¶15f and 116; “flying under the radar,” SAC
10    ¶¶15a and 117a, and “shut [their door]” when teaching this material. SAC ¶15fThese
11    materials – which had been removed from the web, see SAC ¶7, 118 – also make
12    clear the central role played by UTLA in advancing this scheme. Thus LESMC’s
13    website instructed teachers to “engage with activists outside of the union to support,
14    co-sponsor, engage in mutually supportive projects and, also, to help one another
15    negotiate the treacherous waters of white supremacy.” SAC Ex. A at A13.
16          “White supremacy,” of course, means every effort to prevent Defendants from
17    using their racist curriculum. SAC ¶ 104. The UTLA Brief at 2 tells this Court that
18    Plaintiffs have used “inflammatory” language about “resistance,” “white supremacy,”
19    “indigenous” peoples versus “colonialism” by Jews, while – according to
20    Defendants’ version of the facts (which is completely irrelevant here) the materials at
21    issue “are nothing more than measured criticisms of the State of Israel.” But the
22    quoted inflammatory words are defendants’ inflammatory words, which appear
23    throughout the curricular materials at issue and indeed, as the Complaint explains,
24    conveying these words, and their inflammatory content, is the whole point of the
25    these materials. UTLA’s felt need to ignore the pled facts, and argue on the basis of
26    their own contradictory story, is at the root the reason why its motions must be
27    denied.
28          What does it mean for a teacher to “shut the door” when teaching? Defendants
           Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                 -5-
     Case 2:22-cv-03243-FMO-E       Document 129 Filed 11/24/23         Page 13 of 42 Page ID
                                            #:2401


 1    are clear that this tactic is to be deployed to prevent “administration” and Jewish or
 2    parent organizations from stopping the use of these materials. SAC Ex. A at A8
 3    makes it plain: On hiding from administrators, Defendants advise: “Is the
 4    administration likely to be supportive if you tell them about your plans? Or are you
 5    better off flying under the radar?”
 6          On parents and Jews, secrecy from perceived enemies is equally important:
 7

 8
            What about parents and other members of the community? If there’s a PTA,
            does it support social justice teaching? Are parents or the local community
 9          organized in support of progressive causes that will make them likely to
10          support your work? On the other hand, are the JCRC, the ADL, the Jewish
            Federation and/or other Zionist organizations active and likely to create
11          problems? If so, how can you build support before you begin so you’re in a
12          strong position to withstand potential attack?
      Ibid. This frank advice reveals clearly that the goal of Defendants’ scheming and
13
      secrecy is clear: secrecy is to be used to cement control: to identify people who will
14
      help and to prevent anyone who might oppose the use of these materials from finding
15
      out about it, when discovery would increase the chance that teachers will be stopped
16
      from using the teaching materials at issue in this case in public school classrooms.
17
            As we demonstrate below, what comes out of the mouths of public school
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      teachers in public school classrooms is state action.2 A second instrument through
19
      which state action is the Ethnic Studies committee, SAC ¶¶33-44, which is
20
      empowered to review all material used to teach Ethnic Studies in LAUSD. This is an
21
      additional mechanism by which Defendants take advantage of the lack of any
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            2
              These materials also make clear that for Defendants, “Zionist” means
24    “Jewish.” In identifying the dangerous white supremacists, Defendants do not speak
      about right wing Israeli political parties, or some marginal Jewish group or pro-Israel
25    advocacy organization. They identify as their enemies the central apparatus of Jewish
      communal organization in the United States: the Jewish Federations, the Jewish
26    Community Relations Council, the Anti-Defamation League. SAC ¶117b. The SAC
      and its Exhibits provides a clear contradiction of Defendants’ ipse dixit that their
27    enemies are not “Jews” but somebody else. See also note          below, discussing the
      overt hostility to Jews of Dr. Melina Abdullah, one of UTLA’s appointees to the
28    LAUSD Ethnic Studies Committee.
           Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                 -6-
     Case 2:22-cv-03243-FMO-E       Document 129 Filed 11/24/23         Page 14 of 42 Page ID
                                            #:2402


 1    LAUSD instruction on how to satisfy the mandate to teach Ethnic Studies, enabling
 2    them to control the information teachers receive about how to fulfill that obligation.
 3    The SAC alleges that the UTLA has obtained, and Defendant Myart-Cruz has
 4    personally exercised, the power to appoint members to an official School District
 5    Ethnic Studies Committee with jurisdiction over the content of LAUSD Ethnic
 6    Studies teaching materials. This power has been wielded to appoint at least one full-
 7    throated Jew-hater to this official body: Dr. Melina Abdullah. SAC ¶¶40-433. This
 8    appointment constitutes UTLA’s embrace of this avowed antisemite’s views and
 9    Defendants’ placement of the holder of these views in a position of official power to
10    review and judge the Ethnic Studies materials used in LAUSD.
11
                  2.    The SAC Alleges That The Teaching Materials At Issue
                         In This Case, and In Use Now In LAUSD, Are
12                       Explicitly, Formally, Racist.
13
            The SAC alleges that the teaching materials at issue in this case explicitly
14
      classify students on the basis of nationality, ethnicity, and religious belief, sorting
15
      them into virtuous victims and evil oppressors. The SAC alleges as much, ¶¶10, 107,
16
      but there is no need to take Plaintiffs’ word for it. As the SAC sets forth, when the
17
      Governor of California signed the California law mandating that Ethnic Studies be
18
      taught in the State’s public schools, he specifically stated that the material here at
19
      issue is infected with “bias, bigotry, and discrimination.”
20
      https://www.gov.ca.gov/wp-content/uploads/2021/10/AB-101-Signing-Message-
21
      PDF.pdf
22
            Similarly, Bill Honig, former California State Superintendent of Instruction,
23
      and subsequently chair and vice chair of the California Instructional Quality
24
            3
              This Court certainly need not answer any questions about the relationship
25    between Zionism and Judaism to identify Dr. Abdullah’s antisemitism: it is the good
      old-fashioned kind, manifest in her public denunciation of “more & more jews
26    invading campuses,” and in her explicit, publicly tweeted approval of calls to “f*ck
      the police and kill the Jews!” – not Zionists, just plain Jews. The tweet referred to in
27    the SAC is Dr. Abdullah’s public praise of physical attacks on synagogues and
      Jewish schools. See SAC ¶¶41-43; https://www.jpost.com/american-politics/black-
28    lives-matter-the-jews-and-palestinian-nationalism-634946.
           Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                 -7-
     Case 2:22-cv-03243-FMO-E       Document 129 Filed 11/24/23         Page 15 of 42 Page ID
                                            #:2403


 1    Commission explains that the curricular materials at issue in this case “[p]resent[]
 2    non-whites as victims and whites, individually and collectively through institutions,
 3    as oppressors.” https://edsource.org/2022/california-schools-should-opt-for-inclusive-
 4    ethnic-studies/674538. They “focus on immutable differences” between students,
 5    “lump minority groups together in broad racial categories” and “discount the opinions
 6    of non-members of [minority] groups.”
 7    http://www.buildingbetterschools.com/2022/06/14/the-ethnic-studies-controversy/.
 8    For this reason Dr. Clarence Jones, the Reverend Dr. Martin Luther King’s speech
 9    writer, has warned that use of these teaching materials “will inflict great harm on
10    millions of students in our state." https://www.newsweek.com/martin-luther-king-
11    adviser-writes-gov-gavin-newsom-criticizes-ethnic-studies-curriculum-1565410.
12          As part of its explicitly racist content, the teaching materials here at issue
13    define the creation of the State of Israel as an exercise in “white supremacy,” e.g.,
14    ¶¶176 and 178, denouncing Israel’s founders and citizens as “white” – and therefore,
15    as Superintendent Honig has explained – as oppressors – when in fact a majority of
16    Israel’s Jewish population are nonwhites who, and whose ancestors, have lived in the
17    Middle East for centuries, and in some instances, millennia. The teaching materials at
18    issue label everyone else in the world with the same demographic history as people of
19    color. The Jews with this history are white, but they are white for only one reason:
20    because they are Jewish. ¶195.
21          These clearly racist statements are the reason why, in addition to its many
22    general proscriptions on the use of biased teaching material in public schools,
23    California law specifically bars the use of the particular teaching material at issue in
24    this case. And yet, among the most striking features of Defendants’ briefs is that none
25    of them, anywhere, actually argues that the teaching material here at issue does
26    comply with California law, or that there is any way to square the use of this material
27    with the explicit command of the government of California that exactly this material
28    not be used. Defendants simply ignore the point. But this Court cannot ignore it.
           Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                 -8-
     Case 2:22-cv-03243-FMO-E       Document 129 Filed 11/24/23         Page 16 of 42 Page ID
                                            #:2404


 1                 3.     The SAC Alleges That The Teaching Material At Issue
 2                        Denounces Plaintiffs’ Sincerely Held Religious Beliefs and
                          Seeks to Suppress Advocacy Of Those Beliefs.
 3

 4          The racist content is, the SAC alleges, driven by racist and antisemitic intent.
 5    Defendants’ intention, the SAC states, is “to expunge the idea of Zionism, and
 6    thelegitimacy of the existence of the State of Israel, from the public square.” E.g.,
 7    SAC ¶228; see also id. ¶¶12, 66, 71. The materials are designed to make LAUSD
 8    public school students into political activists advancing Defendants’ political views,
 9    SAC ¶72. The materials teach children that just as the American idea of Manifest
10    Destiny is morally wrong, so the Jewish idea that Israel is the land promised by God
11    to the Jewish people is also morally wrong. SAC ¶191.
12          As UTLA’s chosen instructor on the materials here at issue explains, the goal
13    of the instruction to be provided in LAUSD classrooms is that “we have to always be
14    confronting Zionism.” SAC ¶56. Defendants say clearly that their goal is not
15    education but political action: “Teaching the truth about Palestine is ... a political
16    decision,” and “part of a larger movement.” SAC ¶72 and Exhibit E at E 3.
17          The cases make clear that whether something is a sincerely held religious belief
18    is a question of fact. The Complaint therefore pleads this and substantiates it, alleging
19    both that the belief is sincerely held, ¶¶26-29, and that it is a specifically religious
20    belief, grounded in canonical Jewish texts, customs and holidays. ¶¶130-191.
                   4.    The SAC Pleads That Plaintiffs Are Being Harmed Now And
21
                          That Further, Even Greater Harm Is Imminent.
22

23          The Ninth Circuit’s decision in Sabra v. Maricopa County Cmty Coll. Dist., 44

24    F.4th 867 (9th Cir. 2022) makes clear the nature of the harm that must be incurred in a

25    case challenging academic content hostile to a particular religion. It holds that

26    plaintiffs have standing to challenge the use of the curricular materials at issue here

27    and to seek injunctive relief barring such use because the content has forced the

28    plaintiff to expend resources. In that case a Muslim association sued over the use in a

           Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                 -9-
     Case 2:22-cv-03243-FMO-E       Document 129 Filed 11/24/23         Page 17 of 42 Page ID
                                            #:2405


 1    college class of material the association deemed hostile to Islam. Reversing a trial
 2    court decision to the contrary, the Ninth Circuit found the association had standing
 3    because it had devoted resources to opposing the allegedly offensive material. That
 4    expenditure of resources, the Court of Appeals held, was sufficient to confer
 5    standing.
 6          The Complaint here demonstrates exactly this form of injury, among others. It
 7    describes, for example, how Plaintiff Amy Leserman devoted time and money simply
 8    to trying to learn the precise content of Defendants’ teaching materials --- and that
 9    she was prevented from doing so by Defendant Montano. ¶¶122-127.
10          Every individual Plaintiff has alleged that he or she has experienced the
11    antisemitic and anti-Zionist content at issue in this case and been injured by it,
12    because that content has “been received by each Plaintiff in this case, and have made
13    clear to each Plaintiff that they and similarly situated people such as Plaintiffs, who
14    sincerely hold a religious belief in Zionism, or who are Israeli-Americans or who
15    identify as ethnically Israeli, Jewish or Zionist, are not welcome in any LAUSD
16    classroom where – as required by LAUSD policy – Ethnic Studies is being
17    taught.” ¶30.
18          Similarly, the Complaint alleges that each parent plaintiff “is being forced,
19    now, by Defendants’ actions at issue in this case, to choose between protecting the
20    sincerely held religious beliefs of their children and availing themselves of their legal
21    right to send their children to a California public school. The practice imposed upon
22    LAUSD teachers by Defendants, of concealing the publicly-funded teaching of the
23    LESMC, makes it unreasonably difficult or impossible for Plaintiffs to detect whether
24    their children’s religious beliefs are, now, being denounced in the public school
25    classrooms to which each Plaintiff sends his or her child each school day, or whether
26    their children are being denounced as Israeli-Americans or ethnically Israeli, Jewish
27    or Zionist.” ¶31. And it alleges that “[e]ach Plaintiff who is a teacher is being
28    forced, now, to work in an environment in which his or her religious or ethnic
           Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                - 10 -
     Case 2:22-cv-03243-FMO-E       Document 129 Filed 11/24/23         Page 18 of 42 Page ID
                                            #:2406


 1    identity is being officially denounced by publicly-funded propaganda in the public
 2    school workplace on public school time.” ¶32.4
 3          Even if this were not the law, it would be clear that Plaintiffs have standing, as
 4    the right to sue here now exists if the harm is being experienced now or is imminent.
 5    The SAC alleges both. The cases hold clearly that whether there is substantial burden
 6    on Plaintiffs’ free exercise is also a question of fact. The Complaint pleads these
 7    facts as well: it alleges that Defendants’ teaching now forces parents to choose
 8    between sending their children to public school and risking that the teachers to whom
 9    they commit their children will denounce their religious beliefs and national and
10    ethnic identities, or protecting their children from official attacks on their religious
11    beliefs by foregoing their right to public education, ¶31. It alleges that this danger is
12    compounded by Defendants’ admitted tactic of hiding the fact that they are using
13    these racist materials in their classroom. Ibid.
14         The harm caused is not merely the risk of hurt feelings that Defendants conjure
15    and dismiss. Rather, as set forth above, the SAC alleges that Defendants’ intended
16    goal is to drive public advocacy for Zionism out of the public square, ¶¶12, 66, 71,
17    72, 228, and to cause public school children in Los Angeles to be “social justice
18    warriors” who will espouse, and act on, the political opinions held by the individual
19    Defendants in this case and espoused by all Defendants. SAC ¶12.
20          Defendants cannot be heard to dismiss these rising threats as unrelated to the
21    racist rhetoric they are deploying in LA public schools. It blinks reality to suggest
22    that there is no connection between teaching bias and hate, on the one hand, and
23    manifestations of it, on the other. We need not ignore as lawyers what we know as
24    human beings: children are in school to learn from their teachers. As the Ninth
25    Circuit explained in Johnson v. Poway Unified School Dist., 658 F.3d 954 (9th Cir
26    2011). The law governing what goes on in public school elementary and secondary
            4
27             These facts are also sufficient to demonstrate that the Plaintiffs have,
      personally, experienced sufficient impact of the Defendants’ actions to establish their
28    right to sue under Title VI.
           Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                - 11 -
     Case 2:22-cv-03243-FMO-E       Document 129 Filed 11/24/23         Page 19 of 42 Page ID
                                            #:2407


 1    schools must recognize “students’ emulation of teachers as role models and the
 2    children's susceptibility to peer pressure.”Edwards v. Aguillard, 482 U.S. 578, 584
 3    (1987). The Ninth Circuit similarly cautioned in Monteiro v. Tempe Union High Sch.
 4    Dist., 158 F.3d 1022, 1027 (9th Cir. 1998), “words can hurt, particularly in the case of
 5    children, and [] words of a racist nature can hurt especially severely.”
 6          It necessarily follows that if their teachers hate, and teach hate, it’s reasonable
 7    for a Plaintiff to allege that that’s what students will learn. The teaching materials
 8    here are far from a single suggestion, or a single book, or even two books, that
 9    provide one of many perspectives about Israel. Rather, the entire curriculum speaks
10    with one homogeneous voice to tell children that an entire country, and a religious
11    commitment to which the vast majority of Jews adhere, are – as a matter of fact –
12    founded on genocide, ethnic cleansing and white supremacy. It is, to put it mildly, at
13    least a question of fact whether such materials actually teach what they are intended
14    to teach; whether students “learn” it; and whether the imminent result of that teaching
15    and learning has the result that the SAC says the Defendants intend: to make LA’s
16    public schools a place where Zionist identity must be hidden and where Zionist
17    commitment cannot safely be said out loud.
      B. WHAT IS NOT AT ISSUE IN THIS CASE.
18
            What is not at issue here is any expression other than classroom expression by
19
      public school teachers, on the clock and paid for with public money. No claim in the
20
      Second Amended Complaint is based on anything happening outside of a public
21
      school classroom, during class time, while the teacher is being paid with public
22
      money out of the public fisc. No relief is sought relating to any other speech or to any
23
      private or personal speech. No claim is based here on any effort by any Defendant to
24
      “petition” the LAUSD or any public body about what curricular materials should be
25
      used, and no relief is sought relating to any such activity. Thus contrary to the claim
26
      of the UTLA Defendants, UTLA Slapp Br. 10, Plaintiffs do not claim that UTLA is
27
      acting wrongfully by petitioning the government to include the challenged materials
28

           Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                - 12 -
     Case 2:22-cv-03243-FMO-E       Document 129 Filed 11/24/23         Page 20 of 42 Page ID
                                            #:2408


 1    in the classroom, or to discuss with others what the curriculum should be or whether
 2    the law should be changed to allow Defendants to teach what they want. There is no
 3    claim that it is illegal for UTLA to speak to teachers about Ethnic Studies and there is
 4    no request that this Court order UTLA to stop doing so. The claim is that, when it
 5    comes to choosing Ethnic Studies materials in LAUSD, the decision by the District to
 6    require the course but not say how to teach it has left a vacuum into which the
 7    Defendants have inserted themselves, and that at present, UTLA and the Consortium
 8    effectively are the government, because these Defendants are effectively the ones
 9    deciding what materials are being used to teach Ethnic Studies in LAUSD.
10          Thus no claim is made here that the law is violated by Defendants’ conduct of
11    seminars showing teachers how to teach the LESMC, and no relief is sought from the
12    Court asking anyone to stop conducting such seminars. The SAC makes this
13    completely clear, in a section of the pleading entitled “Plaintiffs Do Not Seek To
14    Restrict Rights of Petition or Free Speech Under the United States Constitution or
15    California Constitution of Any Defendant or Anyone Else.” The SAC there states
16    explicitly that the only activity here at issue is speech paid for with government
17    money. The SAC alleges:
18          222. This case does not seek any limitation on the Defendants’ petition
            or speech rights outside of the publicly funded speech and activities in
19
            which Defendants engage as alleged herein. It seeks no relief of any kind
20          relating to any speech or petition activities, by any person, which is not
            found by this Court to constitute state action, and, in particular,
21
            Plaintiffs disclaim any effort to seek relief of any kind in this action
22          relating to any of Defendants’ non-government funded speech.
23    (emphasis added).
24          Having explained what Plaintiffs are not suing over – categorically disclaiming
25    any effort to restrict anything other than speech paid for with government money –
26    the SAC goes on to explain what Plaintiffs are seeking in this case: nothing other
27    than a bar on the use, in the public school classroom, of racist and discriminatory
28

           Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                - 13 -
     Case 2:22-cv-03243-FMO-E       Document 129 Filed 11/24/23         Page 21 of 42 Page ID
                                            #:2409


 1    teaching material whose presence in public schools is barred by state and federal law:
 2          223. Rather, this Action seeks only enforcement, within publicly
            funded institutions, of California and federal law barring the use, within
 3
            such institutions, of state-funded curricula, educational materials, and
 4          education activities that discriminate against students, parents and
            teachers on the basis of their religion or national origin, and that have
 5
            not been publicly disclosed and subject to public discussion as mandated
 6          by California law.
 7          The SAC explains that, because Defendants have worked hard to hide the true
 8    content of the racist materials they are using and that is at issue in this case, the
 9    Plaintiffs have quoted statements by Defendants other than the teaching materials
10    themselves. But this is only to provide the Court with the best currently available
11    evidence of the content of the teaching materials themselves:
12          225. The Defendants’ positions on what the content of Ethnic Studies
13          teaching materials should be, and on the substantive issues that
            Defendants wish to teach and to see taught in public school Ethnic
14          Studies classes, are set forth in this Complaint not because any relief is
15          sought with respect to Defendants’ own, nonpublicly funded,
            expressions of those positions. Rather, that material is set forth in this
16          First Amended Complaint for good reasons:
17                 a.    First, Defendants have actively advised their allies and
18          colleagues to conceal the true content of the Ethnic Studies material they
            teach. Defendants’ effort at concealment has not been completely
19          successful, and this First Amended Complaint therefore contains much
20          of the discriminatory teaching material designed by Defendants and
            caused by them to be used in Los Angeles public schools. But
21          Defendants’ efforts at concealment have been successful to some degree,
22          and Plaintiffs have therefore been forced to identify the principles
            Defendants are causing to be taught – and that the Defendant teacher,
23          Ms. Carrasco Cardona -- is teaching herself as the factual basis for the
24          claims at issue here. Once discovery forces Defendants to release the
            actual materials, those materials themselves will be sufficient to
25          establish the violations of plaintiffs’ civil rights at issue in this case.
26                 b.    Second, this First Amended Complaint contains extensive
27          material demonstrating the clear hostility to Judaism, Israel, and Zionism
            embraced by Defendants and those whom Defendants have chosen to
28          place in positions of public trust because these clear manifestations of
           Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                - 14 -
     Case 2:22-cv-03243-FMO-E       Document 129 Filed 11/24/23         Page 22 of 42 Page ID
                                            #:2410


 1          bias directly support Plaintiffs’ claims of hostility to them, their
 2          ethnicity, nationality and religious belief – in the same way that a private
            employer, if sued for racial discrimination, can be shown to have
 3          violated Title VII if it appointed someone as head of human relations
 4          whose private Facebook page made clear that he was hostile to Black
            people and their culture, religious beliefs, and ethnic identity.
 5
      Defendants do not merely ignore the clear distinction Plaintiffs have drawn between
 6
      Constitutionally protected speech – which Plaintiffs do not seek to limit – and
 7
      government speech, which has no First Amendment protection. Worse, they
 8
      affirmatively misrepresent the Plaintiffs’ pleading. Thus the brief for Defendants
 9
      Montano, Cardona, and the Liberated Ethnic Studies Model Curriculum Consortium
10
      represents to this Court that Plaintiffs are suing the Defendants simply because they
11
      speak to teachers about what to teach. LESMCC Slapp Br. at 6.
12
            But Plaintiffs have done no such thing. Instead, Plaintiffs have asked the Court
13
      to bar only Nominal Defendant LAUSD – which has no First Amendment rights –
14
      from using these materials in its official work. See SAC Prayer for Relie ¶¶2-5; and
15
      for an order barring the use of these materials in classrooms wher Defendants work or
16
      in seminars paid for with public funds. Id. ¶
17
      II. NO PROTECTED FIRST AMENDMENT ACTIVITY BY
18    DEFENDANTS IS AT ISSUE IN THIS CASE.
            The only activity at issue in this case is the speech and conduct of publicly pai
19
      teachers in their public school classrooms during class time. Defendants’ invocation
20
      of the First Amendment as protection for the activity here at issue therefore fails.
21
            This is true for two reasons. First, as explained in the Fact Section of this brief,
22
      Defendants’ argument misapprehends what activity is at issue here. Their briefs
23
      incorrectly start, and devote effectively all of their space to arguing, that Defendants
24
      are being sued for – and pretending that this case asks this Court to stop – activity
25
      that is simply not at issue here.
26
            The second reason why Defendants’ First Amendment arguments fail is that
27
      the law is absolutely clear in holding that public school teachers have no First
28

           Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                - 15 -
     Case 2:22-cv-03243-FMO-E       Document 129 Filed 11/24/23         Page 23 of 42 Page ID
                                            #:2411


 1    Amendment rights regarding what they say and do in their classrooms during class
 2    time. The Ninth Circuit has said so clearly, in Johnson v. Poway Unified School Dist.,
 3    958 F.3d 954 (9th Cir. 2011) – in a holding that Defendants acknowledge exactly
 4    nowhere in any of their five briefs. For this reason, UTLA’s claim that the relief
 5    sought here amounts to a prior restraint is incorrect. UTLA 12(b)(6) Br. at 7.
 6    Because there is no First Amendment protection for teachers inside an elementary or
 7    secondary school classroom, no First Amendment issue is presented by a restriction
 8    on such speech. And at any rate, the restriction sought here is only the one imposed
 9    by state law – and a state law whose constitutionality no Defendant has attacked.
10          Two conclusions necessarily follow from this. First, it dooms all moving
11    Defendants’ effort to escape from this case by arguing that the case attacks activity
12    protected by the First Amendment. That argument completely misstates the law, as
13    we show below, and it therefore fails. The second consequence of this clear law is
14    that it compels denial of the Defendants’ SLAPP motion. As all Defendants
15    recognize, the first requirement for a successful SLAPP motion is that the activity at
16    issue be protected by the First Amendment. Because none of the activity actually at
17    issue is so protected, the motion must be denied.
18
             A. Defendants Misapprehend What Activity Is At Issue In This Case.

19          As previously shown, Defendants briefs resolutely refuse to acknowledge that
20    the activity here at issue is, and is only, what is said and done in public school
21    classrooms during class time. Instead, they pretend that they have been sued
22    “advocacy” regarding the Liberated curriculum. Because they have not, their First
23    Amendment defense of their right to engage in such advocacy is irrelevant.
24        B. The Law Is Clear That When Public School Teachers Are At Work
                In Their Classrooms They Have No First Amendment Rights To
25
                Teach Whatever They Want.
26
            The Ninth Circuit has answered this question. See Poway v. Johnson Unified
27
      School Dist., supra. In so holding, the Ninth Circuit joined other circuits that have
28

           Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                - 16 -
     Case 2:22-cv-03243-FMO-E       Document 129 Filed 11/24/23         Page 24 of 42 Page ID
                                            #:2412


 1    reached the same conclusion. See, e.g., Evans-Marshall v. Board Of Education Of
 2    Tipp City Exempted Village School District, 624 F.3d 322 (6th Cir. 2010); Walker v.
 3    New York City Dep’t of Educ., 712 Fed.Appx. 43 (2d Cir. 2017). For this reason, even
 4    a legal analyst sympathetic to teachers, and who clearly wished the law were
 5    otherwise, described claims about teachers’ First Amendment rights in the classroom
 6    as “easy cases.” The teachers, he explained, lose these cases. See Garcetti’s Impact
 7    on Teachers, (June 3, 2019) https://onlabor.org/garcettis-impact-on-teachers/ As the
 8    Ninth Circuit explained in Poway, a teacher’s speech in the classroomis speech that
 9    “the school board hire[d].” The teacher does not own the right to decide what gets
10    said in a classroom. In California, in a series of laws invoked by the SAC, the state
11    has mandated a complete ban on teaching that is biased on the basis of religion,
12    nationality, and ethnic origin, among other factors. Teachers have absolutely no First
13    Amendment right to violate that ban because they have opinions critical of a
14    particular nationality, ethnicity or religion. Poway is binding law in this Court. It
15    resolves this question. Defendants’ failure to cite, acknowledge or even try to explain
16    away this holding leaves the issue a straightforward one for this Court.7
      III. PLAINTIFFS HAVE STANDING TO BRING THESE CLAIMS.
17          A. The Law On Standing Is Uniquely Accommodating For First
18                Amendment Claims.
19
            The Ninth Circuit’s decision in Sabra v. Maricopa Cty. Comm. Coll. Dist.,
20
      supra, makes clear that Plaintiffs – all of whom have lost resources, and/or incurred
21
      expenditures because of the current use of the curricular materials here at issue – have
22
      standing to sue now to bar the use of those materials. See supra at __.
23
            Beyond this, the Ninth Circuit has held that "when the threatened [government
24
      action] implicates First Amendment rights, the [standing] inquiry tilts dramatically
25
      toward a finding of standing." LSO, Ltd. v. Stroh, 205 F.3d 1146, 1155 (9th Cir.
26
      2000). As the Ninth Circuit explained in Italian Colors Rest. v. Becerra, 878 F.3d
27
      1165 (9th Cir. 2018): First Amendment challenges "present unique standing
28

           Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                - 17 -
     Case 2:22-cv-03243-FMO-E       Document 129 Filed 11/24/23         Page 25 of 42 Page ID
                                            #:2413


 1    considerations." As the Supreme Court itself recently explained, In Church of Lukumi
 2    Babalu Aye [v. Hialeah,] the Court made clear that the government, if it is to respect
 3    the Constitution's guarantee of free exercise, cannot impose regulations that are
 4    hostile to the religious beliefs of affected citizens and cannot act in a manner that
 5    passes judgment upon or presupposes the illegitimacy of religious beliefs and
 6    practices. Masterpiece Cakeshop, Ltd. v. Colo. Civil Rights Comm’n, 584 U.S.              ,
 7    138 S.Ct. 1719, 1731 (2018).
 8          As the above Supreme Court pronouncements are sufficient on their own to
 9    make clear, Defendants are flatly wrong in suggesting that a free exercise claim can
10    succeed only if physical conduct is prevented or punished. That position has been
11    explicitly rejected by the Ninth Circuit. In Jones v Williams, 791 F.3d 1023, 1031-32
12    (9th Cir. 2015) (internal quotations and citations omitted) (emphasis added), that court
13    held: "It was well established in 2007, and remains so today, that government action
14    places a substantial burden on an individual's right to free exercise of religion when it
15    tends to coerce the individual to forego her sincerely held religious beliefs or to
16    engage in conduct that violates those beliefs."
            B.     PLAINTIFFS HAVE SUFFICIENTLY ALLEGED THAT DEFENDANTS’
17                 TEACHING MATERIALS SUBSTANTIALLY BURDEN THE FREE
18                 EXERCISE OF THEIR RELIGIOUS BELIEF.

19                 1.     Defendants’ Teaching Materials Target And Seek To Suppress
                          Expressions Of Plaintiffs’ Sincerely Held Religious Belief.
20

21    Government action “targeting religious beliefs as such is never permissible. Church
22    of Lukumi Babalu Aye v. Hialeah, 508 U.S. 520, 533 (1993). "The Cour must survey
23    meticulously the circumstances of governmental categories to eliminate, as it were,
24    religious gerrymanders." Walz v. Tax Comm’n of New York City, 397 U.S. 664, 696
25    (1970)(Harlan, J. concurring). The Free Exercise Clause, like the Establishment
26    Clause, extends beyond facial discrimination. The Clause "forbids subtle departures
27    from neutrality, “Gillete v. United States, 401 U.S. 437, 452 (1971) and "covert
28    suppression of particular religious beliefs," Bowen v. Roy,476 US. 693, 703 (1986)
           Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                - 18 -
     Case 2:22-cv-03243-FMO-E         Document 129 Filed 11/24/23        Page 26 of 42 Page ID
                                              #:2414


 1    (opinion of Burger, C.J.).
 2          The SAC alleges clearly that Defendants have transgressed this rule, an indeed
 3    Defendants proclaim it themselves: the materials here at issue are designed to ensure
 4    that LAUSD teachers are “always [] confronting Zionism.” What can that profession
 5    of duty mean other than an obligation on the part of all teachers to “suppress [this]
 6    particular religious belief”?
 7          Plaintiffs allege that the Liberated curriculum denounces, and seeks to teach all
 8    LAUSD children to oppose the Torah’s promise of the Land of Israel to the Jews in
 9    just the same way as they are taught to oppose the idea of Manifest Destiny. SAC
10    ¶191. This directly and specifically “targets [Plaintiffs’] belief,” exactly what was
11    forbidden by Lukumi.
12
                  2.   Plaintiffs Have Sufficiently Alleged That The Burden
                       Imposed On Their Religious Beliefs Is Substantial.
13

14          “[D]etermining whether a burden is substantial (and if so whether it is
15    nevertheless justifiable) is ordinarily an issue of fact … and … substantiality is a
16    relative term-whether a given burden is substantial depends on its magnitude in
17    relation to the needs and resources of the religious organization in question." World
18    Outreach Conf. Ctr. v. City of Chicago, 591 F.3d 531, 539 (7th Cir. 2009); cf. Shakur
19    v. Schriro, 514 F.3d 878, 891, (9th Cir. 2008).
20          The issue is whether the plaintiff “has presented sufficient evidence that [the
21    defendant] engaged in actions that would ‘tend[] to coerce [the plaintiff] to forgo
22    h[is] sincerely held religious beliefs’ by treating plaintiff’s religious article
23    disrespectfully.” Harris v. Escamilla, 736 Fed. Appx. 618 (9th Cir. 2018).
24          The measurement of that burden in this case is not only a function of the
25    impact of the teaching on Jewish children who hold this belief: it is also on other
26    children who are being taught to hate that belief and to oppose it actively. Can a
27    publicly paid teacher ever have the right to teach some children to hate and oppose
28    another student’s religious belief? And precisely how much hatred will have to be

           Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                - 19 -
     Case 2:22-cv-03243-FMO-E       Document 129 Filed 11/24/23         Page 27 of 42 Page ID
                                            #:2415


 1    taught for it to be enough to confer standing? Do we need another pogrom in Los
 2    Angeles, of the kind explicitly approved of by UTLA’s appointee to the official
 3    LAUSD Ethnic Studies Committee? Do we need deaths, or will mere bodily injuries
 4    be enough?
 5            The rule is clear that the impact of challenged government action on a
 6    Plaintiff’s free exercise requires a full record, and must be assessed with careful
 7    attention paid to the impact of the challenged government action on the plaintiff
 8    Thus, for example, the extent to which particular prison policy pressures an inmate to
 9    betray his religious beliefs would be a factual issue to be resolved at trial. Putzer v.
10    Donnelly, 2010 U.S. Dist. LEXIS 63708 (D.NV May 11, 2010).
11    Nowhere can this rule be more relevant than in elementary and secondary schools,
12    because the target of Defendants’ actions are children. We are, after all, not dealing
13    here with adult criminals serving time in federal prison; but with children as young as
14    five years old. Since Brown v. Board of Education,347 U.S. 483, 494 n. 11 (1954), it
15    has been clear that explicit segregation by race harms at least the entire population of
16    the race victimized by such discrimination.
17            That is true whether the segregation determines who enters which school house
18    or how different races are treated in the same school house. In the course of holding
19    that public school teachers have no First Amendment rights when they are on the job,
20    the Ninth Circuit has itself noted “the position of trust and authority they hold and the
21    impressionable young minds with which they interact.” Johnson v. Poway Unified
22    School Dist., 658 F.3d 954, 968 (9th Cir 2011). Indeed, as the Ninth Circuit held in
23    that case, teachers address themselves to the impressionable and "captive minds”
24    when they teach and they must not “take advantage” of that fact “to press [their]
25    particular views.” Ibid. Pressing their particular views – “their truths,” as Defendants
26    say it, SAC ¶110 – is exactly what Defendants freely admit they are doing in this
27    case.
28            Over two decades of research have shown that subjective or perceived
           Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                - 20 -
     Case 2:22-cv-03243-FMO-E       Document 129 Filed 11/24/23         Page 28 of 42 Page ID
                                            #:2416


 1    exposure to racial or ethnic discrimination has deleterious effects on both physical
 2    and mental health for African Americans, and recent studies report similar findings
 3    for Asian Americans, Latinos, and other ethnic groups. Whether racial discrimination,
 4    racism, ethnic discrimination, or cultural racism, often used interchangeably, the
 5    shared meaning of these terms is the unfair treatment that members of marginalized
 6    racial and ethnic groups experience because of their phenotypical or linguistic
 7    characteristics and cultural practices. Perceived exposure to discrimination (broadly
 8    stated here to imply unfair treatment due to one’s race or ethnicity) has been
 9    conceptualized as a unique chronic stressor. Consistent with other stressors, perceived
10    discrimination can elicit variable emotional and behavioral responses that have been
11    hypothesized to adversely affect mental health.
12          Disentangling the effects of perceived personal and group ethnic
13    discrimination among secondary school students: The protective role of teacher–
14    student relationship quality and school
15    climate,https://onlinelibrary.wiley.com/doi/full/10.1002/cad.20415 ; See also
16    Perceived Racial/Ethnic Discrimination and Mental Health: a Review and Futur
17    Directions for Social Epidemiology,
18    https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5596659/ The measurement of the
19    burden on Plaintiffs is not only a function of the impact of the teaching directly on
20    Jewish children who hold this belief: it is also on other kids who are being taught to
21    hate that belief and to oppose it actively. That means that even non-Jewish children
22    have the right to challenge an antisemitic curriculum. NOW v. Sperry-Rand Corp.,
23    457 F.Supp. 1338 (D. CT 1978) (because every citizen has the right to a
24    discrimination-free environment, even a member of the majority, non-victimized
25    population has standing to challenge discrimination against a minority because such a
26    plaintiff has his or her own right to a non-discriminator
27    environment).
28

           Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                - 21 -
     Case 2:22-cv-03243-FMO-E       Document 129 Filed 11/24/23         Page 29 of 42 Page ID
                                            #:2417


 1   IV.    COURTS ROUTINELY ADDRESS THE ONLY FACTUAL QUESTION
            RELATING TO RELIGION PRESENTED BY THIS CASE, WHICH IS
 2          THE PLAINTIFFS’ CLAIM THAT THEY MAINTAIN SINCERELY
            HELD RELIGIOUS BELIEFS.
 3
            Completely ignoring the entire body of law governing the assessment of
 4
      Plaintiff’s sincerely held religious belief, the UTLA Defendants invoke totally
 5
      irrelevant cases to suggest that this Court’s adjudication of Plaintiffs’ claims would
 6
      require it to resolve disputes over Jewish religious doctrine.. The argument is
 7
      completely meritless. As they must, given their Article III duty to resolve cases and
 8
      controversies, courts routinely decide whether a plaintiff’s religious beliefs are
 9
      sincerely held, and whether they are, indeed “religious.” See Watts v. Fla. Int'l Univ.
10
      495 F.3d 1289 (11th Cir. 2007):
11          Federal case law is replete with examples of courts articulating the threshold
12          free exercise requirements as a two-part analysis. See, e.g., Lukumi, 508 U.S.
            at 531, 113 S. Ct. at 2226-27 [**31] (noting that the Court "must consider" the
13          plaintiffs' free exercise claim because no question existed as to the plaintiffs'
14          sincerity and the practice of animal sacrifice was a religious belief); United
            States v. Seeger, 380 U.S. 163, 185, 85 S. Ct. 850, 863, 13 L. Ed. 2d 733
15          (1965) (describing a court's responsibility as deciding whether a plaintiff's
16          beliefs are "sincerely held" and religious) (citing United States v. Ballard, 322
            U.S. 78, 86, 64 S. Ct. 882, 886, 88 L. Ed. 1148 (1944)); Benning v. Georgia,
17          391 F.3d 1299, 1313 (11th Cir. 2004) ("[T]he First Amendment . . . requires [a
18          court] to determine whether the asserted belief . . . is religious and sincerely
            held.") * * * Callahan v. Woods, 658 F.2d 679, 683 (9th Cir. 1981) (noting
19          "two basic criteria" for free exercise protection: (1) that the proffered belief be
20          "sincerely held" and (2) that the claim be rooted in religious belief and not
            secular concerns).
21
            Thus the only issue is whether, as a factual matter, Plaintiffs sincerely believe
22
      what they claim to believe, and whether that belief is an article of their faith. Quite
23
      obviously, none of this requires this Court to decide any issue of international law or
24
      to decide who’s right in the Middle East, any more than it requires this Court to
25
      “resolve or take a side in, thorny and hotly debates religious doctrinal questions.”
26
      UTLA 12(b)(6) Br. at 8, or to define Jewish doctrine in any way. On the contrary: the
27
      Complaint specifically precludes this argument by Defendants, alleging in ¶133 that
28

           Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                - 22 -
     Case 2:22-cv-03243-FMO-E       Document 129 Filed 11/24/23         Page 30 of 42 Page ID
                                            #:2418


 1    Plaintiffs are not asking this Court to adjudicate the truth or validity of these beliefs.
 2    Plaintiffs are seeking only recognition and enforcement of the black letter principle
 3    that their own sincerely held religious beliefs are entitle to First Amendment
 4    protection as well as to the protection afforded religious commitments under the
 5    various other Constitutional and statutory provisions invoked in this case. Indeed,
 6    the SAC ¶134 makes clear not only that the Court is not being asked to define Jewish
 7    doctrine but that there is no one official statement of Jewish creed, with respect to
 8    Zion or anything else:
 9
            There is virtually no proposition of Jewish belief upon which all Jews agree,
            and the Jewish canon has never had an officially adopted creed setting forth the
10          essence of Jewish belief or any mechanism for the creation of such a creed. But
11          that does not diminish the sincerity of the religious commitment of Jews to the
            religious principles to which they do adhere; and a great many Jews, including
12          Plaintiffs, sincerely hold a religious belief in Zionism.
13          To enable the factfinder to decide these questions, the SAC does what every
14    plaintiff must do who asks a court to adjudicate a claim regarding his or her sincerely
15    held religious belief: Plaintiffs have put before the Court allegations that will enable
16    them to put into evidence exactly the same kinds of facts that all other courts examine
17    when deciding such claims. Thus, for example, the trial court in Lukumi, 723 F.Supp.
18    1467,1469-70 (S.D. FL 1989) received, examined and ruled on extensive evidence
19    regarding the source and content of the religious belief at issue. This evidence was
20    briefly summarized by the Supreme Court in its opinion in that case. Lukumi, 508
21    U.S. at 524-526. Because this is appropriate, and indeed, required, in cases of this
22    kind, the SAC includes allegations on this topic. See SAC ¶¶130-171. 5
23          Because they are wrong about Plaintiffs’ beliefs – and the belief of a great
24    many Jews – regarding the centrality of Zionism to Jewish identity, Defendants are
25    also wrong about the antisemitic quality of what they are peddling to
26    LAUSD’schildren.6
27

28

           Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                - 23 -
     Case 2:22-cv-03243-FMO-E       Document 129 Filed 11/24/23         Page 31 of 42 Page ID
                                            #:2419


 1    V.    BY ALLEGING THAT DEFENDANTS HAVE SOUGHT AND
            ATTAINED “CONTROL” OF THE TEACHING OF ETHNIC STUDIES
 2          IN LAUSD, THE PLAINTIFFS HAVE ADEQUATELY ALLEGED
            THAT DEFENDANTS ARE STATE ACTORS.
 3          The SAC alleges clearly that Defendants perform the government function of
 4    writing the curriculum of public school classes. SAC ¶51 says this in black and white,
 5    quoting the Consortium’s own website: “Our ethnic studies experts work directly
 6    with the district’s educators and curriculum development team who write the units,
 7    lessons, and develop the pedagogical practices.”
 8           For these reasons, also, the LESMCC Defendants’ argument that the SAC
 9    seeks an unconstitutional restraint on Defendants’ speech and on the right of students
10    to receive information fails. Ignoring the clear command of California and federal
11    law, these Defendants suggest that students’ right to “information” is denied by the
12    relief Plaintiffs seek here. Under law that affords no room for ambiguity, no student
13    has a “right” to hear from a public school teacher that any ethnic group or nationality
14    is, categorically, genocidal or an oppressor. Such “instruction” would be biased on
15    the basis of ethnicity and nationality and it would be impermissible. And no student
16    has the right to the “information” that Zionism is morally wrong, any more than they
17    have the right to the information that any other religious principle is true or false,
18    morally right or evil.
19
            But reading Defendants’ argument more sympathetically than it deserves, one
20
      could suggest that students have the right to learn that some people believe Israel has
21
      done bad things, or was founded wrongfully, while other people believe something
22
      else. That would be information. The difficulty for Defendants is that that’s not what
23
      they’re doing or teaching or causing others to teach. As the SAC makes clear, ¶66,
24
      the only “information” Defendants want taught is “their truth” – which is the
25
      antisemitic and anti-Zionist content that the State of California has forbidden from
26
      public school classrooms.
27
            The Consortium’s conduct sitting with public school educators and writing
28

           Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                - 24 -
     Case 2:22-cv-03243-FMO-E       Document 129 Filed 11/24/23         Page 32 of 42 Page ID
                                            #:2420


 1    public school curriculum means that that Consortium shares and exercises public
 2    power by participating directly in the writing of LESMC teaching materials with paid
 3    employees of the LAUSD for use in publicly-funded classrooms. That’s what it
 4    means for the Consortium to say that they engage jointly with public officials “to
 5    write the units, lessons, and develop the pedagogical practices.”
 6    https://www.liberatedethnicstudies.org/uploads/1/6/1/9/16198322/statem
 7    ent_on_how_the_lesmcc_supports_districts.pdf. The SAC further describes in detail
 8    the steps Plaintiffs have been able to identify by which Defendants have successfully
 9    caused the materials here at issue to be taught, now, in LAUSD schools. These
10    allegations are sufficient to survive a motion to dismiss.
11          Whether something constitutes state action is a question of fact. “The Supreme
12    Court has repeatedly cautioned that while the principle of ‘state action’ is ‘easily
13    stated, the question of whether particular discriminatory conduct is private, on the one
14    hand, or amounts to 'state action,' on the other, frequently admits of no easy answer.
15    Collins v. Womancare, 878 F.2d 1145, 1148 (9th Cir. 1989), citing Moose Lodge No.
16    107 v. Irvis, 407 U.S. 163, 172 (1972); see also Evans v. Newton, 382 U.S. 296, 299
17    (1966). According to the Supreme Court, “only by sifting facts and weighing
18    circumstances can the nonobvious involvement of the State in private conduct be
19    attributed its true significance." Burton v. Wilmington Parking Authority, 365 U.S. 20
20    715, 722 (1961).
21          In this case, as the SAC alleges, LAUSD has required that Ethnic Studies be
22    taught but not told teachers how to do that. Defendants, working together and as part
23    of the official Ethnic Studies Committee, have stepped into this vacuum and
24    answered the question the District has left unanswered. The curricular materials
25    Defendants have inserted into the curriculum benefit the School District, which is
26    able to satisfy the obligation to have Ethnic Studies courses while not having the
27    obligation to develop curricular material on its own. Their answer is the racist
28    material now being taught and at issue in this case.
           Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                - 25 -
     Case 2:22-cv-03243-FMO-E       Document 129 Filed 11/24/23         Page 33 of 42 Page ID
                                            #:2421


 1          Defendant Cardona is, in addition to her role as an officer of Defendant
 2    Liberated Ethnic Studies Model Curriculum Consortium, also a teacher in an LAUSD
 3    public school. No party denies that when Defendant Cardona acts as a teacher in
 4    public school, she is engaging in state action. None of the claims dependent on a
 5    claim of state action can therefore be dismissed as to this Defendant.
 6          Defendants’ attempt to dismiss the significance of the Ethnic Studies
 7    Committee by pointing out that it has no official power to pass on teaching materials.
 8    Exactly the same argument was made, and rejected, in Bantam Books, Inc. v.
 9    Sullivan, 372 U.S. 58 (1963). There a state commission had been created “to educate
10    the public” about potentially obscene books not appropriate for children. Id. at 59.
11    The body did “not regulate or suppress obscenity, but simply exhorts booksellers and
12    advises them of their legal rights.” 66. It had no power to prosecute anyone or to issue
13    any kind of mandate requiring, or barring, conduct of any kind. The Court found this
14    irrelevant because “the record amply demonstrates that the Commission deliberately
15    set about to achieve the suppression” of certain books, and because “informal
16    censorship may sufficiently inhibit” protected First Amendment activity.” Id. at 67.
17          Plaintiffs also satisfy the state action requirement by pleading, and alleging
18    facts to support their claim, that the Defendants conspired with one another to get
19    their chosen teaching materials into LAUSD classrooms. UTLA claims to be
20    dissatisfied the degree of detail provided in the SAC about how the conspiracy
21    operated. Yet the SAC provides the “who, what, when and where” in, e.g., ¶235
22    regarding the operation of this conspiracy to the extent that Plaintiffs can know it.
23    Given Defendants’ tactic of hiding what they are doing even from “administrators” in
24    the school who might put a stop to it, See SAC Ex. A at A8, how could Plaintiffs
25    know more at this point? Indeed, the SAC explains that Defendants have carefully
26    vetted who has access to their racist material in an effort to ensure that it reaches only
27    people who are share their goals and views. See e.g., SAC ¶¶122-127, detailing the
28    lengths Defendants have gone to to prevent Plaintiff Amy Leserman from discovering
           Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                - 26 -
     Case 2:22-cv-03243-FMO-E       Document 129 Filed 11/24/23         Page 34 of 42 Page ID
                                            #:2422


 1    the actual content of Defendants’ teaching materials.
 2          In Sullivan, the Court took the dramatic step of enjoining the Commission from
 3    communicating with the pressured book sellers. Here Plaintiffs seek no limit of any
 4    kind on the Defendants’ conduct vis-à-vis teachers – thus no limitation on what they
 5    say to teachers or public officials, including even the ones who – sitting jointly with
 6    Consortium personnel – write the curriculum. Plaintiffs seek only a bar on the illegal
 7    result – racist and antisemitic teaching in the classroom – that Defendants are
 8    producing. Where a state delegates certain governmental functions to outside
 9    parties, the determination as to whether that person is a state actor is generally a
10    question of fact that cannot be determined at the pleading stage. See, e.g., West v.
11    Atkins, 487 U.S. 42 (1988); Pollard v. The GEO Group, Inc., 629 F.3d 843 (9th Cir.
12    2010). As the court held in Allen v. Woodford, 2006 U.S.Dist. LEXIS 45254 at *40
13    (E.D. CA June 26, 2006),
14          Actions taken by a private individual may be "under color of state law" where
15    there is a significant state involvement in the action." Franklin v. Fox, 312 F.3d 423,
16    444 (9th Cir.2002); Johnson v. Knowles, 113 F.3d 1114, 1118 (9th Cir.1997) As the
17    Ninth Circuit has held in Poway, the ultimate decision about what gets         said in a
18    public school classroom is, necessarily, a government decision.
19          At the end of the day, by requiring that Ethnic Studies be taught but not
20    providing a curriculum, the LAUSD has effectively delegated to Defendants the
21    power to make that decision, and Defendants have filled that void and are exercising
22    that control. Because the decision itself is a government decision, the Defendants’
23    actions in making the decision constitute state action. A variety of tests have been
24    formulated for defining state action, an Defendants’ conduct here satisfies them:
25    Under the public function test, a private party is viewed as a state actor if the plaintiff
26    establishes that, in engaging in the challenged conduct, the private party performed a
27    public function that has been 'traditionally the exclusive prerogative of the state.' ...
28    Under the joint action test, state action is found where a private person is a 'willful
           Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                - 27 -
     Case 2:22-cv-03243-FMO-E        Document 129 Filed 11/24/23         Page 35 of 42 Page ID
                                             #:2423


 1    participant in joint activity with the State or its agents' that effects a constitutional
 2    deprivation ... Under the state compulsion test, a private party is fairly characterized
 3    as a state actor when the state has exercised coercive power or has provided such
 4    significant encouragement, either overt or covert, that the [challenged conduct] must
 5    in law be deemed to be that of the State ... Lastly, under the governmental nexus test,
 6    the issue is whether there is a sufficiently close nexus between the State and the
 7    challenged action of the regulated entity so that the action of the latter may be fairly
 8    treated as that of the State itself .... Fenters v. Chevron, 761 F.Supp.2d 957 (E.D. CA
 9    2010).
10           There can be no dispute that the choice of what to teach in public school
11    classrooms is a “public function,” and indeed Defendants do not claim otherwise.
12          The SAC alleges that, in the absence of an official LAUSD choice, the
13    Defendants have stepped in to make that determination. The District’s authorization
14    of the Union and its president to appoint individuals to an official body that reviews
15    all Ethnic Studies teaching material in the district satisfies the joint action test.
16           But as the court cautioned in Allen v. Woodford, 2006 U.S.Dist. LEXIS 45254
17    at *42 (internal quotations omitted), “[w]hile these factors are helpful in determining
18    the significance of state involvement, 'there is no specific formula for defining state
19    action.' McDade v. West, 223 F.3d 1135, 1139 (9th Cir. 2000). The extent of state
20    involvement remains a factual inquiry. 'Only by sifting facts and weighing
21    circumstances can the non-obvious involvement of the state in private conduct be
22    attributed its true significance.' Howerton v. Gabica 708 F.2d 380, 383 (9th Cir.
23    1983). That is so here, particularly in light of Defendants’ urging teachers to hide
24    what they are doing at Defendants’ direction. Only a detailed factual analysis of
25    Defendants’ conduct will enable a proper adjudication of Plaintiffs’ claims. Only
26    after discovery will it be truly known how, when LAUSD mandated the teaching of
27    Ethnic Studies but provided no instruction, Defendants filled that vacuum and
28    installed their view in Los Angeles public school classrooms.
           Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                - 28 -
     Case 2:22-cv-03243-FMO-E                Document 129 Filed 11/24/23                   Page 36 of 42 Page ID
                                                     #:2424


 1            Regarding the operation of this conspiracy to the extent that Plaintiffs can
 2    know it. Given Defendants’ tactic of hiding what they are doing even from
 3    “administrators” in the school who might put a stop to it, See SAC Ex. A at A8, how
 4    could Plaintiffs know more at this point? Indeed, the SAC explains that Defendants
 5    have carefully vetted who has access to their racist material in an effort to ensure that
 6    it reaches only people who are share their goals and views. See e.g., SAC ¶¶122-127,
 7    detailing the lengths Defendants have gone to to prevent Plaintiff Amy Leserman
 8    from discovering the actual content of Defendants’ teaching materials.
 9            It has been argued on behalf of the individual Defendants that they are entitled
10    to immunity because her conduct was not clearly illegal.5 But this entitlement to
11    immunity applies only for claims for damages. And at any rate, this argument clearly
12    fails in light of Defendants’ failure to even try to square the use of the teaching
13    materials here at issue with California’s express command not to use them,
14    particularly in light of Defendants’ explicit proclamation, cited in SAC ¶108 and
15    discussed above at            , that the State of California was simply wrong in issuing this
16    command. Not only were Defendants violating the law: they knew – indeed, they
17    announced – that they were violating the law. Their actions were indeed clearly
18    illegal. They knew it at the time and said so.
19    VI.     PLAINTIFF PARENTS HAVE STANDING TO BRING THEIR
              CLAIMS UNDER TITLE VI.
20
      Pretending away SAC allegations with which they otherwise deal directly Defendants
21
      suggest that the Title VI claim must fail because the Parent Plaintiffs are suing here
22
      merely to enforce their own rights and not those of their children. The argument is
23
      belied by the fact that throughout the rest of their briefs, Defendants acknowledge
24
      that what is at stake here is the injury to children from having their religious beliefs
25
      denounced, their national identity assaulted as criminal, and from Defendants’ efforts
26
              5
27               The Defendants’ briefs also invoke the Sabra case for the proposition that Defendant Carrasco Cardona, as a
      teacher, has qualified immunity from suit. But that case related immunity to a claim for money damages. There is no
28    such claim here; Plaintiffs seek only injunctive relief. Sabra is irrelevant on this issue.

            Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                 - 29 -
     Case 2:22-cv-03243-FMO-E         Document 129 Filed 11/24/23         Page 37 of 42 Page ID
                                              #:2425


 1    to preclude these children from voicing their own religious beliefs in public school.
 2    Defendants make no effort to explain how it could be that the students’ rights and
 3    injuries are at stake elsewhere in the SAC but somehow not for the Title VI
 4    count.
 5
      VII. INTENT HAS BEEN ADEQUATELY ALLEGED FOR BOTH EQUAL
 6         PROTECTION AND TITLE VI CLAIMS
 7             Defendants attack both Plaintiffs’ Equal Protection and Title VI claims by
 8    suggesting that Plaintiffs have not adequately alleged intent. The SAC says clearly in
 9    ¶74:
10             Evidence of Defendants’ discriminatory intent is present here in many forms:
11                   a.     Statements by decision-makers responsible for preparation and
12    dissemination of the LESMC;
13                   b.     the sequence of events leading to the Defendants’ promulgation
14    and promotion of the LESMC;
15                   c.     the fact that the content of the LESMC is, and was intended by
16    Defendants to be, a clear departure from past policy and procedure within the
17    LAUSD;
18                   d.     a past history of animus towards Judaism and Zionism by
19    Defendants and by the individuals and entities who are actual original sources of the
20    LESMC.
21             Given this clear allegation and the additional detail provided in the SAC, it’s
22    difficult to understand what to make of this argument. The SAC pleads at length and
23    in detail that Defendants focus obsessively on Israel and Zionism, announcing their
24    belief that “we have to always be confronting” this Jewish belief; that they intend to
25    drive public speech in support of the Jewish commitment to Zion out of the public
26    square; that they denounce the existence of exactly one country in the world – the
27    Jewish state – while leaving uncriticized such nations as North Korea or even
28    countries where slavery is officially legal.
             Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                  - 30 -
     Case 2:22-cv-03243-FMO-E       Document 129 Filed 11/24/23         Page 38 of 42 Page ID
                                            #:2426


 1    VIII. PLAINTIFFS HAVE STATED A CLAIM FOR VIOLATION OF THE
            FEDERAL AND STATE EQUAL PROTECTION CLAUSES, AS THEIR
 2          OWN AUTHORITIES CLEARLY HOLD.
 3           The UTLA Defendants tell this Court that the Ninth Circuit has rejected attack
 4    on “curriculum content” as the “basis for alleging discriminatory conduct under the
 5    Equal Protection clause.” UTLA Br. at 14, citing Monteiro v. Tempe Union High
 6    School Dist.,158 F.3d 1022 (9th Cir. 1998).
 7           The case they invoke says the exact opposite. The Ninth Circuit explicitly
 8    distinguished the claim there – based on the presence of two books in a reading list –
 9    from a different claim, which would have yielded the opposite result. What is that
10    different claim? The result would be different, the Monteiro court suggested, if the
11    plaintiff were claiming that “the curriculum itself was racist.” 158 F.3d at 1031.
12           Here, as Plaintiffs have demonstrated, not only does the SAC allege exactly
13    that; but the State of California has officially determined exactly that. Indeed, the
14    State of California made that determination not once, not twice, but three times: when
15    it rejected the content Defendants are actually teaching; when it enacted A.B. 101 and
16    Governor Newsom explained that the law barred use of the material here at issue; and
17    in September of this year, when the Executive Director of the Department of
18    Education issued a letter announcing that the material here at issue should not be
19    used. SAC ¶99. And the evidence Plaintiffs have already put before this Court,
20    drawn from the pronouncements Defendants have not successfully hidden from the
21    public, make clear that we are not dealing here with a tiny fraction of a larger
22    educational program: we are dealing, as Plaintiffs allege, and as Governor Newsom
23    has found, with a curriculum infected from top to bottom with racism and bias. That
24    is Plaintiffs’ claim, and Plaintiffs have put forward a good deal of evidence with their
25    pleading to demonstrate that it is so. Everything the courts have held, and which has
26    been adduced earlier in this brief, makes clear that Plaintiffs must be accorded the
27    opportunity to gather evidence to support that claim and to put that evidence before a
28    finder of fact.

           Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                - 31 -
     Case 2:22-cv-03243-FMO-E        Document 129 Filed 11/24/23         Page 39 of 42 Page ID
                                             #:2427


 1    IX.    THE STATE LAW CLAIMS ARE ALL VALID, AND INDEED
             DEFENDANT CARDONA ADVANCES NO REASON WHY SHE IS
 2           NOT LIABLE UNDER THESE PROVISIONS.
 3           Defendants attack the state law claims not by arguing that the racist material
 4    they are using conforms to state law. Instead, ignoring Plaintiffs’ claims that
 5    Defendants are exercising a public function by choosing the teaching materials here
 6    at issue for use in public schools, the UTLA Defendants say these claims should be
 7    dismissed because the statutes do not bind private parties. Plaintiffs agree that the
 8    statutes do not bind private parties. As this brief has made clear, Plaintiffs claim that
 9    the Defendants are acting as de facto public parties. In any event, the only relief
10    sought, as this brief has explained at length, is a restriction on a public function,
11    namely the use of these materials in public schools.
12           Defendant Cardona, however, is a public school teacher. Even under UTLA’s
13    argument, a public school teacher is bound by all of the state laws invoked in the
14    SAC. No party has advanced any argument why these claims should be dismissed as
15    to Defendant Cardona. There is accordingly no basis for dismissal of these claims as
16    to her, or indeed for dismissal of any claim where state action is at issue.
17
      X.     THE COURT SHOULD DENY THE SLAPP MOTIONS
18
             The Defendants’ SLAPP motions ask this Court to punish Plaintiffs for
19
      bringing a claim they have not brought. They go to great length to establish these
20
      Defendants’ right to engage in private speech about Ethnic Studies, and pays
21
      absolutely no attention to the only wrong for which Plaintiffs have sought redress –
22
      which is, as has been emphasized throughout this brief, what LAUSD public school
23
      teachers do and say in their classrooms during class time.
24
      So complete is the Defendants’ refusal to confront the claim Plaintiffs have actually
25
      brought that their SLAPP brief ignores directly controlling Ninth Circuit authority,
26
      holding categorically that teachers have no First Amendment rights in the classroom
27
      on class time. See Johnson v. Poway Unified School Dist., supra. The UTLA
28

            Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                 - 32 -
     Case 2:22-cv-03243-FMO-E       Document 129 Filed 11/24/23         Page 40 of 42 Page ID
                                            #:2428


 1    SLAPP Brief cites this case, at 11 but does not acknowledge this holding by the
 2    Court.
 3             Rather than addressing the claim Plaintiffs have actually brought, the UTLA
 4    SLAPP Brief uses 19 of its 22 pages to demonstrate the right of the Union and its
 5    President to engage in speech which the Plaintiffs in this case do not seek to stop or
 6    to punish in any.10 Indeed, unlike the cases the SLAPP statute was actually designed
 7    to deter, this case does not seek to punish anyone for anything. No damages are
 8    sought from any party; the only relief sought is an end to the use of racist teaching
 9    materials in Los Angeles public schools.
10             Because their motion is so thoroughly misdirected, the UTLA Defendant
11    cannot satisfy the first of the SLAPP Act’s two requirements, which is that the
12    Plaintiff’s claims arise from acts in furtherance of constitutional rights of petition and
13    free speech. The only claims here arise from speech in the classroom. There is no
14    Constitutional right to speech in the public elementary and secondary school
15    classroom. That’s the end of the matter.11
16             The UTLA Defendants do not formally argue that they are entitled to counsel
17    teachers to hide what they are doing in class. But in any event, the law is clear that
18    the First Amendment does not bar a court from preventing a speaker from counseling
19    the commission of imminent lawless action when such counseling is likely to incite
20    or produce such action. Brandenburg v. Ohio, 395 U.S. 444, 447 (1969). That rule
21    was deployed in, e.g., United States v. Allamby, 2005 U.S. Dist. LEXIS 32385 (N.D.
22    OH July 29, 2005); in United States v. Bell, 414 F.3d 474 (3d Cir. 2005); and in
23    United States v. Schiff, 379 F.3d 621 (9th Cir. 2004).
24             To the extent that Defendants wish to argue that the SLAPP Motion should be
25    granted because they will prevail on grounds such as their claim they are not engaged
26    in state action, those are factual issues as to which Plaintiffs are entitled to discovery
27    before a ruling. Planned Parenthood Fed’n of Am. V. Ctr. For Med.
28

           Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                - 33 -
     Case 2:22-cv-03243-FMO-E       Document 129 Filed 11/24/23         Page 41 of 42 Page ID
                                            #:2429


 1                                         CONCLUSION
 2          The case Defendants have attacked and asked this Court to dismiss and strike
 3    isnot the case Plaintiffs have brought. Plaintiffs’ case is a carefully circumscribed
 4    claim that tramples on no-one’s First Amendment rights, while enforcing federal and
 5    California law mandating a racism- and bias-free curriculum in publicly-funded
 6    schools.
 7          For the foregoing reasons, Defendants’ motions to dismiss Plaintiffs’ Second
 8    Amended Complaint and the Defendants’ special motions to strike should be denied.
 9    In the event that the Court finds factual allegations lacking that are required to state a
10    claim, Plaintiffs respectfully request the opportunity to amend their Complaint to
11    address any such failings.
12          Progress, 890 F.3d 828, 833-34 (9th Cir. 2018) (“Requiring a presentation of
13    evidence without accompanying discovery would improperly transform the motion to
14    strike under the anti-SLAPP law into a motion for summary judgment without
15    providing any of the procedural safeguards that have been firmly established by the
16    Federal Rules of Civil Procedure. That result would effectively allow the state anti-
17    SLAPP rules to usurp the federal rules. We could not properly allow such a result.”
18    See also Williams v. Kula, 2020 U.S. Dist. LEXIS 154978, at *8-9 (S.D. Cal. Aug.
19    26, 2020) (“But in such a case, discovery must be allowed, with opportunities to
20    //
21    //
22    //
23

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           Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
                                                - 34 -
     Case 2:22-cv-03243-FMO-E       Document 129 Filed 11/24/23         Page 42 of 42 Page ID
                                            #:2430


 1    supplement evidence based on the factual challenges, before any decision is made by
 2    the court.”).
 3

 4    Dated: November 24, 2023                               Respectfully submitted,
 5
                                                             THE DEBORAH PROJECT
 6
                                                      By:    /s/ Lori Lowenthal Marcus
 7
                                                             LORI LOWENTHAL MARCUS
 8
                                                      By:    /s/ Jerome M. Marcus
 9                                                           JEROME M. MARCUS
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           Plaintiffs’ Omnibus MPA IOT Defs’ Motions to Dismiss/Special Motions to Strike SAC
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